                                                                                        09/20/2018
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                                      LYNCHBURG DIVISION

  LISA T.,
                                                       CASE NO. 6:17-cv-00039
                                      Plaintiff,

  v.                                                   MEMORANDUM OPINION

  CAROLYN COLVIN, Acting Commissioner of
  Social Security,                                     JUDGE NORMAN K. MOON

                                   Defendant.

        This matter is before the Court on the parties’ cross motions for summary judgment (dkts.

 11, 14), the Report and Recommendation of United States Magistrate Judge Robert S. Ballou

 (dkt. 19, hereinafter “R&R”), and Plaintiff Lisa T.’s objections to the R&R (dkt. 20). Pursuant to

 Standing Order 2011-17 and 28 U.S.C. § 636(b)(1)(B), the Court referred this matter to Judge

 Ballou for proposed findings of fact and a recommended disposition. Judge Ballou filed his

 R&R, advising this Court to deny Lisa’s motion and grant the Commissioner’s motion. Lisa

 timely filed her Objections, obligating the Court to undertake a de novo review of those portions

 of the R&R to which objections were made. See 28 U.S.C. § 636(b)(1)(B); Farmer v. McBride,

 177 F. App’x 327, 330 (4th Cir. 2006). Because the objections lack merit, I will adopt Judge

 Ballou’s R&R in full.

                                      STANDARD OF REVIEW

         A reviewing court must uphold the factual findings of the ALJ if they are supported by

 substantial evidence and were reached through application of the correct legal standard. See 42

 U.S.C. §§ 405(g), 1383(c)(3); Bird v. Comm’r of SSA, 669 F.3d 337, 340 (4th Cir. 2012).

 Substantial evidence requires more than a mere scintilla, but less than a preponderance, of


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 evidence. Mastro v. Apfel, 270 F.3d 171, 176 (4th Cir. 2001). A finding is supported by

 substantial evidence if it is based on “relevant evidence [that] a reasonable mind might accept as

 adequate to support a conclusion.” Johnson v. Barnhart, 434 F.3d 650, 653 (4th Cir. 2005) (per

 curiam). Where “conflicting evidence allows reasonable minds to differ as to whether a claimant

 is disabled,” the Court must defer to the Commissioner’s decision. Id.

        A reviewing court may not “re-weigh conflicting evidence, make credibility

 determinations, or substitute [its] judgment” for that of the ALJ. Craig v. Chater, 76 F.3d 585,

 589 (4th Cir. 1996) (citation omitted). “Where conflicting evidence allows reasonable minds to

 differ as to whether a claimant is disabled, the responsibility for that decision falls on the

 Secretary (or the Secretary’s designate, the ALJ).” Id. (quoting Walker v. Bowen, 834 F.2d 635,

 640 (7th Cir. 1987)). “Ultimately, it is the duty of the [ALJ] reviewing a case, and not the

 responsibility of the courts, to make findings of fact and to resolve conflicts in the evidence.”

 Hays v. Sullivan, 907 F.2d 1453, 1456 (4th Cir. 1990). Thus, even if the court would have made

 contrary determinations of fact, it must nonetheless uphold the ALJ’s decision, so long as it is

 supported by substantial evidence. See Whiten v. Finch, 437 F.2d 73, 74 (4th Cir. 1971).

                                            ANALYSIS

        Because Plaintiff does not object to the R&R’s recitation of the factual background and

 claim history in this case, I incorporate that portion of the R&R into this opinion. (See R&R at

 2–3). By way of summary, Lisa applied for (and was denied) disability insurance benefits under

 the Social Security Act based on severe impairments, medical conditions, and post-surgery

 difficulties with her right foot. (R&R at 3 (citing, e.g., R23)).1 The ALJ concluded that Lisa




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        The Court cites to the administrative record with “R” followed by the page number.
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 nonetheless could perform jobs that exist in the national economy and thus found her not

 disabled. (R&R at 3 (citing R36)).

 I.     Weight Given to Opinions by Physicians

        Lisa first objects that Judge Ballou “gave too much weight to the opinions of the [non-

 treating] state agency physicians.” (Dkt. 20 at 1–2). Setting aside the failure to recognize that it

 is the ALJ who weighs the evidence—the magistrate judge simply reviews the ALJ’s conclusion

 for legal error and under the substantial evidence standard—the objection lacks merit. Lisa

 attacks the credibility and expertise of the state physicians, criticizing their credentials and

 attaching various documents as evidence to support her attack. (Dkt. 20 at 1–2; dkt. 20-1; dkt.

 20-2). That is improper at this stage of the litigation. The time for submitting evidence,

 challenging experts’ credentials, and the like was before the ALJ, not during this Court’s review

 of the magistrate judge’s review of the ALJ. At this point, the Court’s task is to decide whether

 the ALJ’s conclusions were supported by substantial evidence, not adjudication of the facts from

 scratch. Craig v. Chater, 76 F.3d 585, 589 (4th Cir. 1996); Hays v. Sullivan, 907 F.2d 1453,

 1456 (4th Cir. 1990). Furthermore, the objections do not engage with, or even cite, the R&R’s

 analysis or the reasoning provided by the ALJ. (See R&R at 6–12; R33–35). The Court thus

 finds the objections insufficiently presented, see United States v. Midgette, 478 F.3d 616, 622

 (4th Cir. 2007), and, in any event, the Court would affirm the ALJ’s decision as supported by

 substantial evidence for essentially the same reasons provided in the R&R. (R&R at 13–15).

        The flip side of Lisa’s challenge to the findings about the state physicians is her challenge

 to the ALJ’s devaluation of opinions from Dr. Konieczny, her treating neurologist. (Dkt. 20 at

 2). Although this objection is specifically stated and therefore properly lodged, it similarly asks

 the Court to recalibrate the ALJ’s findings. The ALJ acknowledged Dr. Konieczny’s opinions



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 and noted his exam revealed some walking and lower extremity limitation. (R34–35). But the

 ALJ also found the doctor had examined Lisa only once, his proposed limitations were “very

 general,” and he observed “normal” functions upon examination. (Id.). For those reasons, and

 after recounting Lisa’s medical history (R24–30), the ALJ discounted Dr. Konieczny’s opinion.

 While the Court might not have reached the same conclusion in the first instance, it is not a

 district judge’s role to “re-weigh conflicting evidence, make credibility determinations, or

 substitute [its] judgment” for that of the ALJ. Craig v. Chater, 76 F.3d 585, 589 (4th Cir. 1996).

 Rather, the inquiry is whether the ALJ adequately explained its decision and whether that

 decision was supported by substantial evidence. It was. A reasonable mind could accept the

 ALJ’s rationale and evidence as adequate to support his conclusions. Johnson v. Barnhart, 434

 F.3d 650, 653 (4th Cir. 2005).

 II.    Medical Evidence of Manipulative Limitations

        In summary judgment briefing, Lisa argued that the ALJ erred “by failing to consider . . .

 any of [her] impairment [sic] to her hands,” contrary to Dr. Konieczny’s notes from his January

 26, 2016 visit with Lisa. (Dkt. 12 at 13; see R501–05). Dr. Zelen, Lisa further observed, also

 noted—albeit in summary, check-the-box fashion—that Lisa had fine and simple manipulation

 limitations. (Dkt. 12 at 14 (citing R456)). Judge Ballou acknowledged this argument and cited

 the evidence on which Lisa relied. But he noted Lisa pointed to no objective medical evidence

 indicating she suffered from hand impairments, and explained that the ALJ gave little weight to

 the two doctors’ opinions for lack of objective evidence. (R&R at 16; see R34–35).

        At bottom, this objection reduces back down to Lisa’s challenge regarding the weight

 given by the ALJ to the experts. The ALJ gave little weight to their opinions, and the Court has

 found that decision supported by substantial evidence. The instant objection, then, is simply a



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 narrower line of attack subsumed within a broader, overruled objection. Even setting that point

 aside, the objection fails. Lisa still has not identified objective medical evidence of manipulative

 limitations; she instead relies on a string of inferences based on her foot injury. The foot injury

 was caused, she says, by her diabetic neuropathy—a condition she then implies caused her

 manipulative limitations. But the point still stands: She had not identified objective medical

 evidence (as opposed to brief statements from her physicians that the ALJ discounted) that she

 has manipulative limitations, much less than her diabetic neuropathy caused them. In sum, this

 objection will be overruled.

 III.   Disability Dates

        Lisa objects to the supposed “fail[ure] to consider” whether she was disabled between

 September 19, 2012 and December 2014 under the requisite five-step analytical process for

 determining disability. 20 C.F.R. § 404.1520. As an initial matter, Lisa again faults Judge

 Ballou for failing to consider the relevant steps. (Dkt. 20 at 4 (referring to magistrate judge’s

 “finding that the evidence did not show that she met a listing”)). But as pointed out earlier, the

 proper objections at this juncture are to Judge Ballou’s review of the ALJ. Judge Ballou (or this

 Court) does not make “finding[s]” from the record, the ALJ does. All the magistrate judge and

 this Court do is review those findings.      In any event, the ALJ’s rationale was adequately

 explained and supported by substantial evidence. (R24, 32; R&R at 18–19).2



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          In passing at the conclusion of her objections, Lisa makes a blunderbuss reference to
 “each of the arguments made in her opening memorandum and urges the Court to consider fully
 the arguments made in that memorandum.” (Dkt. 20 at 5). This is an improper general objection
 that, if acted upon, would defeat one of the central purposes of magistrate judge review—judicial
 efficiency. As the Fourth Circuit has repeatedly explained, a party objecting is obliged to make
 specific objections that reasonably alert the district court to the ground for the objection, and the
 failure to do so is tantamount to making no objection at all. King v. Rubenstein, 825 F.3d 206,
 223 (4th Cir. 2016); United States v. Benton, 523 F.3d 424, 428 (4th Cir. 2008); Tyler v. Wates,
 84 F. App’x 289, 290 (4th Cir. 2003).
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                                            CONCLUSION

        After undertaking a de novo review of those portions of the R&R to which Lisa objected,

 I find that substantial evidence supports the ALJ’s conclusions. Accordingly, I will enter an

 order overruling her objections (dkt. 20), adopting the R&R in full (dkt. 19), granting the Lisa’s

 Motion for Summary Judgment (dkt. 14), denying Plaintiff’s Motion for Summary Judgment

 (dkt. 11), and dismissing and striking this action from the active docket of the Court.

        The Clerk of the Court is hereby directed to send a certified copy of this Memorandum

 Opinion and the accompanying Order to all counsel of record, and to United States Magistrate

 Judge Robert S. Ballou.
                      20th day of September, 2018.
        Entered this _____




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